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                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,
                                                  Case No. 1:11-CV-226-BLW
                   Plaintiff-Respondent,                   1:06-CR-126-BLW

        v.                                        MEMORANDUM DECISION AND
                                                  ORDER
 LAWRENCE WEITZMAN,

                  Defendant-Movant.



       Pending before the Court is Lawrence Weitzman’s Motion to Vacate, Set Aside, or

Correct Sentence Pursuant to 28 U.S.C. § 2255 and Emergency Motion for Bail (Dkt. 1).

Having reviewed the Motion, Weitzman’s Supporting Memorandum (Dkt. 4), the

Government’s Motion to Dismiss (Dkt. 8), and Weitzman’s Response to the Motion to

Dismiss (Dkt. 10), as well as the underlying criminal record, the Court enters the

following Order dismissing the § 2255 Motion and finding the Motion for Bail moot.

                   BACKGROUND AND SUMMARY OF ISSUES

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        Following his plea of guilty to conspiracy to structure transactions and launder

money in violation of 18 U.S.C. § 371, the Court sentenced Weitzman to a term of

imprisonment of 27 months, a fine of $25,000, and a special assessment of $100 and

ordered Weitzman to forfeit property in the substituted value of $175,000. Judgment,

Dkt. 1110 in criminal case. The Court found the guideline range to be 87 to 108 months

which was capped at the statutory maximum of 60 months. The Court then imposed a

sentence below the guideline range primarily because Weitzman suffers from an incurable

form of blood cancer, Waldenstrom’s Macrogobulinemia. Aware that he was being

actively treated at the Stanford University Medical School with an experimental clinical

trial drug called Cal-101, the Court postponed his reporting date to allow for an additional

treatment prior to incarceration and included in the Judgment the following

recommendations:

                 . . . that the Defendant undergo a thorough medical
                assessment by the Bureau of Prisons, and that the Defendant
                be granted a medical furlough under 18 U.S.C. § 3622(a)(1)
                (sic)1 in order to obtain medical treatment and to allow the
                Defendant to continue his participation in a clinical trial. The
                cost of the medical furlough shall be paid by the Defendant.
                The Court further recommends that the Defendant be placed
                in a facility as close to his residence as possible.

Judgment at 2, Dkt. 1110.

        Weitzman self-reported on November 17, 2010, to the Bureau of Prison’s (“BOP”)


        1
           The subsection to which the Court was actually referring was 18 U.S.C. § 3622(a)(3) which
pertains to furloughs for medical treatment not otherwise available. Subsection 3622(a)(1) pertains to
furloughs to visit a relative who is dying.

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medical center in Butner, North Carolina, where he remains incarcerated. His projected

release date is November 1, 2012.

       Because his Plea Agreement contained an appeal waiver, Weitzman did not appeal

his conviction or sentence. However, he timely filed the pending § 2255 Motion under an

exception to the § 2255 waiver which permitted a § 2255 motion alleging ineffective

assistance of counsel based solely on information not known to him at the time of

sentencing and which could not have been known by him at that time. Plea Agreement at

¶ VII.B, pp. 11-12, Dkt. 681. More specifically, Weitzman alleges that counsel was

ineffective for not determining prior to sentencing that despite its Policy Statement

6031.01 permitting medical furloughs, BOP’s actual practice is to deny furloughs for

medical care involving clinical trials. He contends that “counsel’s erroneous reliance

upon the Bureau’s program statement mislead the sentencing court into believing that the

defendant would be accorded a reasonable opportunity to obtain medical furloughs to

continue his treatment on Cal-101.” § 2255 Motion at 10.

       The § 2255 Motion was prompted by the steady decline of Weitzman’s health

since January 2011 and the BOP’s alleged refusal to allow him a furlough to participate in

the Stanford clinical trial despite the recommendation of the Dr. Andres Carden, the lead

oncologist at Butner, that he be placed back on the trial.

       Weitzman seeks release on bail to resume treatment and seeks resentencing taking

into consideration the “newly discovered impediments to defendant’s access to vital

medical treatment.” § 2255 Motion at 11.

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       The Government has moved to dismiss the § 2255 Motion and the Motion for Bail

contending that issues regarding medical condition and treatment do not provide a basis

for § 2255 relief, that counsel’s performance was not objectively unreasonable, that the

claims are speculative, and that he has not been prejudiced.

                                  LEGAL STANDARD

1.     28 U.S.C. § 2255

       Title 28 U.S.C. § 2255 provides four grounds under which a federal court may

grant relief to a federal prisoner who challenges the imposition or length of his or her

incarceration: (1) “that the sentence was imposed in violation of the Constitution or laws

of the United States;” (2) “that the court was without jurisdiction to impose such

sentence;” (3) “that the sentence was in excess of the maximum authorized by law;” and

(4) that the sentence is otherwise “subject to collateral attack.” 28 U.S.C. § 2255(a).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings provides that a federal

district court judge must dismiss a § 2255 motion “[i]f it plainly appears from the motion,

any attached exhibits, and the record of prior proceedings that the moving party is not

entitled to relief.” If the Court does not dismiss pursuant to Rule 4(b), the Court shall

order the Government “to file an answer, motion, or other response within a fixed time, or

to take other action the judge may order.”

       The Court may dismiss a § 2255 motion at other stages of the proceeding such as

pursuant to a motion by respondent, after consideration of the answer and motion, or after

consideration of the pleadings and an expanded record. See Advisory Committee Notes

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following Rule 8 of the Rules Governing Section 2254 Proceedings incorporated by

reference into the Advisory Committee Notes following Rule 8 of the Rules Governing

Section 2255 Proceedings.

2.     Ineffective Assistance of Counsel

       The well-established two-prong test for evaluating ineffective assistance of

counsel claims is deficient performance and resulting prejudice. See Strickland v.

Washington, 466 U. S. 668 (1984). Mere conclusory allegations are insufficient to state a

claim of ineffective assistance of counsel. See Shah v. United States, 878 F.2d 1156,

1161 (9th Cir. 1989). The Strickland standard is “highly demanding.” Kimmelman v.

Morrision, 477 U.S. 365, 381-82; 386 (1986).

       In order to establish deficient performance, a defendant must overcome the strong

presumption that counsel’s performance falls “within the wide range of reasonable

professional assistance” by showing that counsel’s performance “fell below an objective

standard of reasonableness.” Strickland, 466 U.S. at 688-89. In order to establish

prejudice, a defendant must affirmatively prove by a reasonable degree of probability

that, but for counsel's unprofessional errors, the result of the proceeding would have been

different. Id. at 694.

       Both prongs of the Strickland test must be met “before it can be said that a

conviction (or sentence) ‘resulted from a breakdown in the adversary process that

render[ed] the result [of the proceeding] unreliable’ and thus in violation of the Sixth

Amendment.” United States v. Thomas, 417 F.3d 1053, 1056 (9th Cir. 2005) (quoting

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Strickland, 466 U.S. at 687). In evaluating an ineffective assistance of counsel claim, the

Court may consider the performance and prejudice components of the Strickland test in

either order. Strickland, 466 U.S. at 697. Furthermore, the Court need not consider one

component if there is an insufficient showing of the other. Id.

                                       DISCUSSION

       There is no dispute regarding the seriousness of Weitzman’s longstanding medical

condition. It was amply documented throughout the various stages of the underlying

criminal case. Indeed, hearings were continued for long periods of time to allow

Weitzman to undergo treatment whenever his condition deteriorated to the point where he

could not adequately participate in the proceedings. Furthermore, the Court was well

aware of the concerns of counsel at sentencing when he argued for a sentence of

probation with home confinement. Nevertheless, regardless of how much the Court may

be sensitive to his concerns, it cannot grant relief under § 2255.

1.     § 2255 Does Not Apply to Claims Pertaining to Inadequate Medical Care

       Section 2255 pertains to challenges to the legality or validity of a conviction or

sentence. The crux of Weitzman’s issue is that BOP is allegedly refusing to provide what

may be his only viable medical treatment. That claim would appear to be more

appropriately addressed in either of two ways. First, he could challenge the execution of

his sentence pursuant to 28 U.S.C. § 2241. See Hernandez v. Campbell, 204 F.3d 861,

864-65 (9th Cir. 1999) (§ 2241 is the appropriate vehicle for challenging the manner,

location, or condition under which a sentence is executed and must be brought in the

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custodial court). Secondly, he could bring a civil rights claim pursuant to Bivens v. Six

Unknown Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971) alleging

deliberate indifference to his serious medical needs in violation of the Eighth

Amendment. See Pollard v. The GEO Group, Inc., 629 F.3d 843, 863 (9th Cir. 2010)

(noting that courts have regularly recognized Eighth Amendment Bivens actions against

federal prison officials).

       The Court expresses no opinion on which of the two options is more appropriate or

whether Wetizman would likely prevail on either one of the options. However, even if

§ 2255 were the appropriate vehicle for receiving treatment, Weitzman’s claim is subject

to dismissal.

2.     Argument is Based on an Inaccurate Account of What Transpired at
       Sentencing.

       Weitzman’s § 2255 Motion and his Response to the Motion to Dismiss are replete

with references to counsel’s erroneously advising the Court at sentencing about the

availability of a medical furlough program that the Court allegedly relied upon to

Weitzman’s detriment. The argument is summarized very well in his Response:

                Here, Mr. Weitzman argues that this Court would not have
                necessarily sentenced him to 27 months confinement, nor
                indirectly cause (sic) him to be incarcerated 2500 miles from
                his physicians and family, had Defense counsel brought to
                this Court’s attention that the BOP would not permit
                Weitzman a medical furlough to maintain his treatment at
                Stanford University. Defense counsel’s research and
                argument on the availability of a medical furlough plainly
                affected this Court’s thinking at sentencing.


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Response at 10, Dkt. 9.

        In resolving a § 2255 motion as opposed to a § 2254 habeas petition challenging a

state conviction, a court has the benefit of referring to the record, its notes, and its own

recollections of a proceeding or of counsel. Here, the Court’s recollection that it had

advised counsel of the possibility of a medical furlough was confirmed by a review of the

rough transcript of the sentencing hearing.2

        A review of the transcript reveals that the first mention of Weitzman’s health was

the Court’s comments during AUSA Stiles’ sentencing argument. The Court noted that it

had determined that furloughs “can” be granted or accommodated. Then, at the outset of

defense counsel’s sentencing argument, the Court indicated that there are statutory

provisions for medical furloughs and that it would make a “very strong recommendation”

to the BOP for a furlough. Next, during his argument, defense counsel stated that he did

not think that Weitzman would get a furlough to go to Stanford once a week to continue

the clinical trial but that it was something he could look into.

        Counsel may have researched the furlough statute and related BOP policies prior

to sentencing. However, there is clearly no evidentiary support for the claim that defense

counsel enlightened the Court at sentencing about the possibility of a furlough and

persuaded the Court that it would be an available option. The primary thrust of counsel’s


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           The Court may rely on the draft transcript as augmented by its own notes and recollections in
reaching its decision on the § 2255 Motion. The official transcript has been ordered, but given the
urgency of this § 2255 Motion, this decision may be filed before the official transcript is filed.


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argument regarding Weitzman’s medical condition was that Weitzman would die in

prison if sentenced to a term of imprisonment.

       Even if the Court were to liberally construe Weitzman’s argument to include the

scenario suggested in the § 2255 Motion or to assume that counsel was ineffective for not

advising the Court at sentencing that the BOP practice (as opposed to policy) was to deny

furloughs for clinical trials, the claim would still fail.

3.     Counsel’s Performance was not Objectively Unreasonable

       Defense counsel’s strategy at sentencing was to argue vociferously and eloquently

for a sentence of home confinement. His argument was based primarily on Weitzman’s

health issues but also stressed Weitzman’s failure to recognize red flags that should have

alerted him that he was assisting in money laundering, his otherwise exemplary life, his

age, and his contributions to the community. To so argue was a reasonable strategy. Any

attempt to persuade the Court that BOP had a furlough policy for medical treatment

would have undermined his arguments for home detention.

       Counsel’s arguments convinced the Court to impose a sentence of approximately

half the capped guideline range and one-third of what the guideline range would have

been absent the five-year statutory maximum. Counsel was aware, either through his own

efforts or that of the Court’s, that there was a statute and BOP policy providing for

medical furloughs. He has cited no authority indicating that it is objectively unreasonable

to fail to look behind a BOP policy to determine BOP’s actual practices implemented

under that policy. The Court simply can not find that failure to look behind the policy

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constitutes an error of constitutional dimension. However, even if it did, Weitzman

would still have to demonstrate prejudice.

4.      Prejudice

        The appropriate measure of prejudice is not whether Weitzman’s health has

deteriorated absent treatment and continues to do so. As stated above, Weitzman must

demonstrate that absent the alleged deficient performance, the result of the proceeding

would have been different. His contention that the Court otherwise would have “not

necessarily” sentenced Weitzman to 27 months of imprisonment is purely speculative.

Response at 10. The wording of the contention itself suggests the speculation.

Furthermore, a review of the transcript indicates that the Court was well aware of the fact

that the BOP might not grant a furlough yet still imposed the 27-month sentence.

        The Court cited 18 U.S.C. § 3622(1) and BOP Policy Statement 5280.08 regarding

furloughs when discussing the § 3553(a) factor of Weitzman’s health.3 The Court noted

that the policy “may allow” a furlough and noted that the BOP is “generally very

cooperative” regarding medical care. The Court further stated that the BOP “may very

well accommodate” a request for furlough. The Court then recommended to the BOP that

it grant a furlough for the clinical trial while at the same time stating that all it could do

was make the recommendation. Although the possibility of a furlough “provided some

comfort” to the Court, at no time did the Court indicate that it would have imposed a

        3
          Policy Statement 5280.08 refers to furloughs in general, including medical furloughs. Policy
Statement 6031.01 cited by defense counsel more specifically relates to furloughs in the context of patient
care.

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lesser sentence or probation were a furlough not an option. In other words, the Court

knew at the time it imposed sentence that BOP in its discretion could decide not to grant a

furlough. Accordingly, Weitzman has not demonstrated prejudice.

                                           CONCLUSION

        Generally, a § 2255 motion is brought by a prisoner pro se or by new counsel.

This case is unusual in that counsel himself is trying to emphatically persuade the Court

that he provided ineffective assistance of counsel. However, counsel’s claims of his own

ineffectiveness cannot compel § 2255 relief in these circumstances.

        Given the rapid deterioration of Weitzman’s health, pursuing relief under § 2241

or Bivens may not be feasible. The Court encourages both defense counsel and the

Government to continue to work with the BOP to reach a practical solution to secure

effective treatment whether it is the Stanford clinical trial or another viable option.

        The Court is hopeful, given its experience noted at the sentencing hearing that

BOP is generally very cooperative regarding medical care, the Declaration of Elizabeth

A. Nagy, and the statements of defense counsel in his Response regarding some

movement by the BOP, that a suitable arrangement for treatment can be made without

further delay.4


        4
           Elizabeth A. Nagy is the Special Assistant to the Assistant Director/General Counsel for the
BOP. Her Declaration submitted by the Government to “clarify the record in response to the factual
allegations made in the § 2255 motion and memorandum,” indicates that an inmate’s participation in a
clinical trial is determined on a case-by-case basis and is not dependent on granting of a medical furlough.
Nagy Decl., Dkt. 7. Furthermore, defense counsel acknowledges in his Response that since the filing of
the § 2255 Motion, the BOP has requested Stanford’s clinical administrator to explore three options for
administering the clinical trial. Response at 5-6.

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                            CERTIFICATE OF APPEALABILITY

        A § 2255 movant cannot appeal from the denial or dismissal of his § 2255 motion

unless he has first obtained a certificate of appealability. 28 U.S.C. § 2253(c); Fed. R.

App. P. 22(b). A certificate of appealability will issue only when a movant has made “a

substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). To

satisfy this standard when the court has dismissed a § 2255 motion (or claims within a

§ 2255 motion) on procedural grounds, the movant must show that reasonable jurists

would find debatable (1) whether the court was correct in its procedural ruling, and (2)

whether the motion states a valid claim of the denial of a constitutional right. Slack v.

McDaniel, 529 U.S. 473, 484 (2000).5 When the court has denied a § 2255 motion or

claims within the motion on the merits, the movant must show that reasonable jurists

would find the court’s decision on the merits to be debatable or wrong. Slack, 529 U.S. at

484; Allen v. Ornoski, 435 F.3d 946, 951 (9th Cir. 2006).

        After carefully considering the record and the relevant case law, the Court finds

that reasonable jurists would not find the Court’s determination that Weitzman has not

demonstrated either deficient performance or prejudice to be debatable or wrong.

Accordingly, a certificate of appealability will not issue.

                                                 ORDER



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           The requirements for a certificate of appealability for a § 2255 appeal do not appear to differ
from the requirements for a certificate of appealability for a § 2254 habeas petition related to a state
conviction. See United States v. Asrar, 116 F.3d 1268 (9th Cir. 1997). Therefore, cases addressing the
requirements in the context of a § 2254 proceeding are pertinent to a § 2255 proceeding as well.

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      IT IS ORDERED:

      1.    The Government’s Motion to Dismiss (Dkt. 8) is GRANTED.

      2.     Lawrence Weitzman’s Motion to Vacate, Set Aside, or Correct Sentence

            Pursuant to 28 U.S.C. § 2255 (Dkt. 1) is DISMISSED in its entirety.

      3.    Weitzman’s Motion for Bail is MOOT.

      4.    No certificate of appealability shall issue. Weitzman is advised that he may

            still request a certificate of appealability from the Ninth Circuit Court of

            Appeals, pursuant to Federal Rule of Appellate Procedure 22(b) and Local

            Ninth Circuit Rule 22-1. To do so, he must file a timely notice of appeal.

      5.    If Weitzman files a timely notice of appeal, and not until such time, the

            Clerk of Court shall forward a copy of the notice of appeal, together with

            this Order, to the Ninth Circuit Court of Appeals. The district court’s file in

            this case is available for review online at www.id.uscourts.gov.

                                DATED: June 15, 2011




                                Honorable B. Lynn Winmill
                                Chief U. S. District Judge




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